199 F.2d 878
    Petition of NELSON et al.
    No. 10931.
    United States Court of Appeals, Third Circuit.
    Submitted November 7, 1952.
    Decided November 8, 1952.
    
      Bertram Edises, Pittsburgh, Pa., for petitioners.
      Before GOODRICH, KALODNER and HASTIE, Circuit Judges.
      PER CURIAM.
    
    
      1
      The Court of Appeals is asked to issue a writ of mandamus directed to the District Court for the Western District of Pennsylvania on behalf of persons under indictment and about to be brought to trial in that district. The basis for the demand for this extraordinary relief is that the district court has denied a motion for change of venue predicated upon a claim that the feeling against the defendants in the city where the case is to be tried has been aroused to the point where they cannot get a fair trial. We do not think mandamus lies. The point raised can be reviewed normally and appropriately after final judgment, if that becomes necessary.
    
    
      2
      The motion will be denied.
    
    